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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:17-cv-02744-MSK-NYW

  LILYBETH COPE,

  individually and on behalf of all others
  similarly situated,

         Plaintiff,

  v.

  DAVITA HEALTHCARE PARTNERS, INC., and
  TOTAL RENAL CARE INC.

         Defendants.


                         MOTION FOR LEAVE TO FILE SUR-REPLY



         Defendants, DaVita Healthcare Partners, Inc. and Total Renal Care Inc. (collectively

  “Defendants”), by and through their undersigned counsel, file this Motion for Leave to File Sur-

  Reply to Plaintiffs’ Motion for Order to Grant Judicial Notice and Tolling of Statute of Limitations

  [Dkt. 46], which seeks conditional certification of an FLSA collective action. Defendants were

  afforded the opportunity to depose Plaintiffs in December 2018, and now seek leave to file a Sur-

  Reply based on the testimony obtained during these depositions which directly contradicts the

  sworn statements from plaintiffs’ declarations submitted in the briefing of this motion.

         1.      Pursuant to D.C.COLO.LCivR 7.1(a), the undersigned has conferred with

  Plaintiffs’ counsel regarding this Motion. Plaintiffs oppose the relief requested herein.
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         2.       Plaintiffs filed a Motion for Order to Grant Judicial Notice and Tolling of Statute

  of Limitation or in the alternative to stay Defendants’ deadline to respond to the Motion for

  Conditional Certification on June 21, 2018. (Dkt. 46).

         3.       In their Motion, Plaintiffs seek, amongst other things, to have the Court approve

  their Notice and Consent-to-Join form, and for the statute of limitations under the Fair Labor

  Standards Act to be tolled for opt-in Plaintiffs. Id.

         4.       In support of Plaintiffs’ Motion, attached as exhibits were declarations from class

  representative Lilybeth Cope and opt-in Plaintiff, Jannie Deptowicz-Bituin. (Dkt. 46-C).

         5.       Plaintiffs’ entire Motion to this Court rests on the substance of these self-serving

  declarations.

         6.       Over the course of briefing related to Plaintiffs’ Motion, Defendants did not have

  an opportunity to depose Ms. Cope or Ms. Deptowicz-Bituin. Though Defendants first requested

  to take both depositions in July 2018, Plaintiffs and their counsel failed and/or refused to provide

  dates for months until November 2018 with their depositions were finally scheduled to occur in

  December 2018.

         7.       Now, months after Defendants responded to Plaintiffs’ Motion (July 23, 2018) and

  Plaintiffs’ filed their reply brief (August 6, 2018), Defendants were finally afforded an opportunity

  to depose both Plaintiffs-declarants.

         8.       Defendants seek leave to file a Sur-Reply based on the testimony obtained during

  depositions, which, most importantly, directly contradicts the sworn statements from each

  declaration.

         9.       By way of example, during Ms. Cope’s deposition, she contradicted the statements

  in her declaration as follows:




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               a. The declaration provides that employees were “dissuaded” from reporting
                  overtime because of the possibility of disciplinary action (Cope Declaration
                  ¶ 8) yet Ms. Cope testified in her deposition that she has no factual basis for
                  this statement. Ex A Deposition of Cope, 183:6-8, 9-13.

               b. The declaration provides that the hours allocated versus the work expected
                  is set by corporate DaVita (Cope Declaration ¶ 10), yet she admitted in her
                  deposition that she has no basis for this statement and does not know who
                  sets this allocation for other clinics or where other clinics get their
                  allocations, Ex A Deposition of Cope, 188:7-25, 189:1 -13.

               c. The declaration provides that Ms. Cope knew when other employees
                  worked off the clock and specifically watched employees clock out and then
                  complete paperwork (Cope Declaration ¶ 15), yet in her deposition she
                  admits that she has no knowledge of other employees working off the clock
                  and that she never witnessed employees clocking out and later finishing
                  paperwork, Ex A Deposition of Cope, 195:7 - 14, 196:1 - 25.

         10.      Ms. Cope acknowledged that she also did not have an opportunity to make changes

  to the declaration before it was signed, Ex A Deposition of Cope, 169:6-9.

         11.      During Ms. Deptowicz-Bituin’s deposition, she contradicted the statements in her

  declaration as follows:


               a. The declaration provides that Ms. Deptowicz-Bituin was dissuaded from
                  working overtime because of possible disciplinary action (Deptowicz-
                  Bituin Declaration ¶ 8) but admitted in her deposition that she was never
                  told to work off the clock; Ex B Deposition of Deptowicz-Bituin, 178:24-
                  179:6; and did not know of any employee who was dissuaded from
                  reporting overtime because they were concerned with getting disciplined or
                  terminated, Ex B Deposition of Deptowicz-Bituin, 187:2-14.

               b. The declaration provides that Ms. Deptowicz-Bituin worked off the clock
                  for three hours after her shift because she could not accomplish all her job
                  duties within the allotted time (Deptowicz-Bituin Declaration ¶ 12) but then
                  admitted that those hours were authorized by her supervisor and recorded
                  on her time cards, Ex B Deposition of Deptowicz-Bituin, 196:16-25.

               c. Additionally, the declaration provides that Ms. Deptowicz-Bituin was
                  unable to accomplish the work expected per shift, and that she was often
                  required to work off the clock (Deptowicz-Bituin Declaration ¶ 11) but
                  admitted during her deposition that there were only two or three instances




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                 were she did not record time worked, Ex B Deposition of Deptowicz-Bituin,
                 179:24-180:7; 181:10-182:14.

         12.     Notably, both Plaintiff-declarants also admitted that they have no knowledge or

  information regarding the policies and/or practices at other clinics and in other regions, despite the

  allegation that they and putative collective members were all subject to a uniform, nationwide

  practice that deprived them of overtime. (Ex A Deposition of Cope, 188:2- -25, 189:1-6, 199:15 –

  24, 201:7 -9, 18 – 20, 228:6-24; Ex B Deposition of Deptowicz-Bituin, 165:24-166:9).

         13.     Based on the testimony, it is abundantly clear that, contrary to the prior assertions

  in Plaintiffs’ Motion and Brief, the Plaintiffs only have personal knowledge about their respective

  clinics and that their experiences are not reflective of a national practice denying overtime

  compensation. (Ex A Deposition of Cope, 102:4 – 8, 23 – 103:1 -10, 189:1-6, 228:6-24; Ex B

  Deposition of Deptowicz-Bituin, 165:24-166:18; 170:12-21. 172:7-173:1). In fact, the only

  evidence of a uniform and region-wide policy are these declarations—which are clearly unreliable

  based on their own deposition testimony.

         14.     Accordingly, this Court must grant Defendants’ Motion and afford it leave to file a

  Sur-Reply to address these inaccuracies to oppose Plaintiffs’ Motion and further demonstrate that

  conditional certification is improper in this case.

         WHEREFORE, Defendants respectfully request that the Court grant this Motion, and enter

  an Order permitting them to file a sur-reply to Plaintiffs’ Motion for Order to Grant Judicial Notice

  and Tolling of Statute of Limitations [Dkt. 46].




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        Respectfully submitted this 4th day of January, 2019.

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                                 CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on this 4th day of January, 2019, a true and correct
  copy of the foregoing MOTION TO FILE SUR-REPLY was served via CM/ECF on the
  following:


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